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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

BIG BIRDS, LLC,
Plaintiff, Civil Action No. 19-CV-3594-GLR

v.
CC BEAUTY COLLECTION INC., et al.,

Defendants.

 

 

ORDER

Upon consideration of Plaintiff Big Birds, LLC’s Motion for Alternative Service of
Process, and any Opposition thereto, the record in this case and the applicable law, it is hereby:

ORDERED, that Plaintiff Big Birds, LLC’s Motion for Alternative Service of Process is
hereby GRANTED; and it is further

ORDERED, that Plaintiff Big Birds, LLC be permitted to serve Defendants VANITY
ONLINE and COZY ZONE through the following methods, with service deemed effective if
sent through the following methods within 14 days of this Order:

(1) Through electronic messaging to the Amazon storefront with Merchant ID
A2B04QWKBOTFWI and currently known as Vanity Online; and

(2) Through electronic messaging to the Amazon storefront with Merchant ID

A188ED3JB77RWM and currently known as Cozy Zone.

Date: b[$e/,2 020 fr - (lsnel?

George Levi Russell, III
United States District Judge

 
